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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 HUNTINGTON DIVISION


RICHARD EDWARDS, JR.,

                             Plaintiff,

v.                                                  CIVIL ACTION NO. 3:16-1879

McELLIOTTS TRUCKING, LLC;
DANNY McGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC.,

                             Defendants.


                                           ORDER


        For reasons appearing to the Court and pursuant to the Court’s findings in certifying

interlocutory appeal by its Memorandum Opinion and Order entered on December 11, 2018 (ECF

No. 274), the Court STAYS all proceedings in this action, specifically including all cross-claims

among Defendants, pending appeal.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.

                                            ENTER:         February 22, 2019




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
